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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:12-CR-3099

vs.
                                               PRELIMINARY ORDER OF
AARON RAUL NUNEZ,                                   FORFEITURE

                  Defendant.

       This matter is before the Court on the plaintiff's Motion for Issuance of
Preliminary Order of Forfeiture (filing 53). The operative indictment in this
case (filing 24) charged the defendant with conspiracy to distribute
methamphetamine, in violation of 21 U.S.C. § 846. The indictment contained
a forfeiture allegation seeking the forfeiture, pursuant to 21 U.S.C. § 853, of
$6,242 in United States currency, on the basis that it was used to facilitate
the commission of the conspiracy and was derived from proceeds obtained,
directly or indirectly, as a result of committing the conspiracy. Filing 24.
       The defendant has pled guilty to the crime alleged and admitted the
forfeiture allegation. Filings 48 and 60. By virtue of pleading guilty to the
charge and admitting the forfeiture allegation, the defendant has forfeited his
interest in the property, and the plaintiff should be entitled to possession of
the property pursuant to 21 U.S.C. § 853. Therefore, the plaintiff's motion for
preliminary order of forfeiture is granted.

      IT IS ORDERED:

      1.    The plaintiff's Motion for Issuance of Preliminary Order of
            Forfeiture (filing 53) is granted.

      2.    Based upon the defendant's guilty plea and admission of
            the forfeiture allegation of the indictment, the plaintiff is
            authorized to seize the $6,242 in United States currency.

      3.    The defendant's interest in the property is forfeited to the
            plaintiff for disposition in accordance with law, subject to
            the provisions of 21 U.S.C. § 853(n)(1).
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    4.    The property is to be held by the plaintiff in its secure
          custody and control.

    5.    Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall
          publish for at least thirty consecutive days on an official
          Internet government forfeiture site (www.forfeiture.gov)
          notice of this order, notice of publication evidencing the
          plaintiff's intent to dispose of the property in such manner
          as the Attorney General may direct, and notice that any
          person, other than the defendant, having or claiming a
          legal interest in the property must file a petition with the
          court within thirty days of the final publication of notice or
          of receipt of actual notice, whichever is earlier.

    6.    Such published notice shall state that the petition referred
          to in paragraph 5, above, shall be for a hearing to
          adjudicate the validity of the petitioner=s alleged interest in
          the property, shall be signed by the petitioner under
          penalty of perjury, and shall set forth the nature and extent
          of the petitioner's right, title, or interest in the property
          and any additional facts supporting the petitioner=s claim
          and relief sought.

    7.    The plaintiff may also, to the extent practicable, provide
          direct written notice to any person known to have alleged
          an interest in the property as a substitute for published
          notice as to those persons so notified.

    8.    Upon adjudication of all third-party interests, this Court
          will enter a final order of forfeiture pursuant to 21 U.S.C. §
          853(n), in which all interests will be addressed.

    Dated this 23rd day of January, 2013.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge



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